18-23408-rdd    Doc 81     Filed 09/13/19    Entered 09/13/19 13:30:22            Main Document
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                                                           Hearing Date: October 8, 2019 at 10:00 a.m.

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Attorneys for 34 W 128 Funding Inc. in its capacity of Plan Administrator

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                 )
                                                 )
 In re:                                          )   Confirmed Chapter 11
                                                 )
 34 HOLDING CORP,                                )   Case No. 18−23408 (RDD)
                                                 )
                      Debtor-in-Possession.      )
                                                 )
                                                 )
                                                 )

          NOTICE OF ADJOURNED HEARING DATE [Docket Nos. 50 and 56]

               PLEASE TAKE NOTICE that the motions entitled Motion for Objection to

Claim(s) Number: 2 [Docket No. 50] and Motion for Payment of Administrative Expenses for 34

W 128 Funding Inc. [Docket No. 56], originally scheduled to be heard before the Honorable

Robert D. Drain, at the United States Bankruptcy Court for the Southern District of New York,

located at 300 Quarropas Street, White Plains, NY 10601-4140, on September 17, 2019 at 10:00

AM will be heard on October 8, 2019 at 10:00 AM.

Dated: September 13, 2019                     RAVERT PLLC
       New York, New York
                                              By: /s/ Gary O. Ravert
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